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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                       LAREDO DIVISION

FAIRPORT ASSET MANAGEMENT                              )
II REO, LLC,                                           )
                                                       )
                  Plaintiff,                           )
                                                       )
         v.                                            )         Case No. 5:22-cv-00054
                                                       )
ROSA MARIA GONZALEZ a/k/a                              )
ROSEMARY GONZALEZ,                                     )
                                                       )
                  Defendant.                           )


                                PLAINTIFF'S ORIGINAL COMPLAINT

         Plaintiff Fairport Asset Management II REO, LLC (the "Plaintiff") files this Original

Complaint complaining of Rosa Maria Gonzalez a/k/a Rosemary Gonzalez ("Defendant") as follows:

                                                        I.
                                                     PARTIES

         1.       Plaintiff is a Missouri limited liability company with an address in Rochester, New

York. The sole member of Plaintiff is FAM II REO, Inc., a Missouri corporation with a Missouri

principal place of business. Accordingly, Plaintiff is a citizen of the state of Missouri for diversity

purposes.

         2.       Defendant is a resident of Texas. She may be served at her home address of 1512

Bull Elk, Laredo, Texas 78045, or wherever else she may be located.

                                                  II.
                                       JURISDICTION AND VENUE

         3.       This Court has subject matter jurisdiction in this matter pursuant to 28 U.S.C. § 1332

as the amount in controversy exceeds Seventy-Five Thousand Dollars ($75,000.00), exclusive of

interest and costs, and this matter is between citizens of different states (Missouri and Texas).
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         4.       Venue is proper in the United States District Court for the Southern District of

Texas pursuant to 29 U.S.C. § 1391(a).

                                                  IV.
                                         FACTUAL BACKGROUND

         5.       On or about January 9, 2001, Defendant executed a Real Estate Lien Note (as

amended, restated, or modified from time to time, the "Note") payable to South Texas National

Bank, as lender, evidencing a loan in the original principal amount of $149,200.00. A true and

correct copy of the Note is attached hereto as "Exhibit A."

         6.       Plaintiff is now the owner and holder of the Note via assignment.

         7.       The Note has matured but Defendant has failed to pay the balance due of more than

$250,000.00.

         8.       Plaintiff's predecessor sent formal written demand for payment on October 8, 2021,

but Defendant has failed and refused to pay.

         9.       Plaintiff seeks recovery of the full balance due and owing under the Note, including

accrued interest and all reasonable and necessary legal fees. In the event Plaintiff forecloses on the

property pledged as security for the Note and the proceeds are not sufficient to pay all amounts

owed to Plaintiff, then Plaintiff seeks recovery of any remaining deficiency balance.

                                                           V.

                                                COUNT ONE:
                                              BREACH OF NOTE

         10.      Plaintiff incorporates herein by reference the allegations set out in the foregoing

paragraphs as though fully set forth herein.

         11.      As described above, Defendant was and is obligated to pay certain amounts to

Plaintiff under the terms of the Note. Plaintiff is the successor in interest to the original lender,

which loaned money to Defendant pursuant to the terms of the Note. Defendant has breached the
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Note by failing to pay the amounts due thereunder. Accordingly, Plaintiff is entitled to recover all

damages caused by Defendant's breach.

                                                COUNT TWO:
                                              ATTORNEYS' FEES

         12.      Plaintiff incorporates herein by reference the allegations set out in the foregoing

paragraphs as though fully set forth herein.

         13.      Plaintiff has retained the firm of Kane Russell Coleman Logan PC to represent it in

this action and has agreed to pay the firm reasonable and necessary attorneys' fees. Plaintiff is

entitled to recover its reasonable and necessary attorneys' fees under Civil Practice and Remedies

Code § 38.001 and the terms of the Note and multiple written forbearance agreements with

Defendant.

                                       CONDITIONS PRECEDENT
         14.      Plaintiff has satisfied all conditions precedent for bringing this action.

         WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that

Defendant be cited to appear and answer herein, and that upon final trial or hearing hereof, the

Court grant Plaintiff judgment against Defendant for:

         1. Actual damages in an amount to be proven at trial;

         2. Costs of court;

         3. Pre-judgment and post-judgment interest as permitted by law;

         4. Reasonable and necessary attorneys' fees incurred by Plaintiff through the trial and all
            appeals of this cause; and

         5. Such other and further relief to which Plaintiff may show itself justly entitled.




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                                                       Respectfully submitted,

                                                       KANE RUSSELL COLEMAN LOGAN PC



                                                         By:     /s/ Brian W. Clark
                                                                 Brian W. Clark
                                                                 State Bar No. 24032075
                                                                 bclark@krcl.com

                                                       901 Main Street
                                                       Suite 5200
                                                       Dallas, TX 75202
                                                       Telephone:     (214) 777-4200
                                                       Facsimile:     (214) 777-4299

                                                       ATTORNEYS FOR PLAINTIFF




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